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                   Exhibit                             1
                               Case 2:22-cv-04355-JFW-JEM Document 75-3 Filed 01/05/23 Page 2 of 4 Page ID #:2957




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                                          11 Attorneys for Plaintiff
                                             YUGA LABS, INC.
                                          12
F ENWICK & W EST LLP




                                          13                               UNITED STATES DISTRICT COURT
                       ATTORNEYS AT LAW




                                          14                            CENTRAL DISTRICT OF CALIFORNIA
                                          15
                                          16 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
                                          17         Plaintiff,                           PLAINTIFF YUGA LABS, INC.’S
                                          18          vs.                                 NOTICE OF DEPOSITION OF
                                                                                          DEFENDANT RYDER RIPPS
                                          19 RYDER RIPPS, JEREMY CAHEN,
                                          20          Defendants.                         Honorable John F. Walter
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                                               NOTICE OF DEPOSITION OF RYDER RIPPS                      Case No. 2:22-CV-04355-JFW-JEM
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                                           1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                           2          PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of
                                           3 Civil Procedure, Plaintiff Yuga Labs, Inc. (“Yuga Labs”) will take the deposition by
                                           4 oral testimony of Defendant Ryder Ripps.
                                           5          The deposition will take place at 9:00 AM PST on January 12, 2022, at
                                           6 Veritext Court Reporting, 2049 Century Park E, Suite 2480, Century City, CA 90067.
                                           7 Yuga Labs will take this deposition before a notary public or other officer authorized
                                           8 by law to administer oaths, and the deposition will be recorded by stenographic
                                           9 and/or videographic means. The deposition will continue until completed or until the
                                          10 permissible time limit under the Federal Rules of Civil Procedure is reached. Yuga
                                          11 Labs intends to use the deposition for all lawful purposes contemplated by the Federal
                                          12 Rules of Civil Procedure, including, but not limited to, the trial of this action.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                          14 Dated: December 5, 2022                          FENWICK & WEST LLP
                                          15
                                          16                                                  By: /s/ Ethan M. Thomas
                                                                                                  Ethan M. Thomas
                                          17
                                                                                              Attorneys for Plaintiff
                                          18                                                  YUGA LABS, INC.
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                                               NOTICE OF DEPOSITION OF RYDER RIPPS
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                                          1                                          PROOF OF SERVICE
                                          2           The undersigned declares as follows:
                                          3           I am a citizen of the United States and employed in the City and County of San
                                          4 Francisco, State of California. I am over the age of eighteen years and not a party to
                                          5 the within entitled action. My business address is Fenwick & West LLP, 555
                                          6 California Street, 12th Floor, San Francisco, CA 94104. On the date set forth below,
                                          7 I served a copy of the following document: PLAINTIFF YUGA LABS, INC.’S NOTICE
                                          8 OF DEPOSITION OF DEFENDANT RYDER RIPPS on the interested parties in the subject
                                          9 action by placing a true copy thereof as indicated below, addressed as follows:
                                          10
                                                Henry Nikogosyan                             Louis W. Tompros
                                          11    Derek Gosma                                  Monica Grewal
                                                Wilmer Cutler Pickering                      Scott Bertulli
                                          12    Hale and Dorr LLP                            Wilmer Cutler Pickering
F ENWICK & W EST LLP




                                                350 S. Grand Ave., Suite 2400                Hale and Dorr LLP
                       ATTORNEYS AT LAW




                                          13    Los Angeles, CA 90071                        60 State Street
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                                          15                                                 monica.grewal@wilmerhale.com
                                          16                                                 scott.bertulli@wilmerhale.com

                                          17
                                          18
                                                      BY E-MAIL: by causing to be transmitted via e-mail the document(s) listed
                                                       above to the addressee(s) at the email address(es) listed above.
                                          19
                                          20
                                                      I declare under penalty of perjury under the laws of the State of California and
                                          21
                                               the United States that the above is true and correct.
                                          22
                                          23                                                       /s/ Raymond Pelayo
                                               Dated: December 5, 2022
                                          24                                                       Raymond Pelayo

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                                                                                                            Case No. 2:22-CV-04355-JFW-JEM
                                               NOTICE OF DEPOSITION OF RYDER RIPPS
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